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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                       March 08, 2017
                              UNITED STATES DISTRICT COURT
                                                                                     David J. Bradley, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION

  JARVIS J. GRAYSON                              §
                                                 §
             Plaintiff,                          §
  VS.                                            §    CIVIL ACTION NO. 3:15-CV-0035
                                                 §
  WOOD GROUP PSN, INC., et al                    §
                                                 §
             Defendants.                         §
                                                 §

                           MEMORANDUM OPINION AND ORDER

            Plaintiff, Jarvis J. Grayson filed this lawsuit on February 19, 2015, against

   Defendants Fieldwood Energy Offshore LLC (also known in this case as “GOM Shelf

   LLC”)1 and Wood Group PSN, Inc., alleging that he was injured during a basket transfer

   from a vessel onto an offshore fixed platform. Fieldwood and Wood Group both appeared

   timely. In May 2015, this case was reassigned to the undersigned judge. Dkt. 12. In June

   2015, the Louisiana Workers’ Compensation Corporation sought to intervene in the

   lawsuit. In July 2015, after the case had been on file for five months, this Court issued a

   docket control order setting the case for a jury trial in July 2016. Dkt. 19.

            On August 7, 2015, Plaintiff filed his first Amended Complaint, naming three

   additional defendants—the M/V Miss Dee, in rem, and the parties alleged to be the

   vessel’s owners and operators, Lafayette Marine, LLC and Gulf Logistics Operating, Inc.

   Dkt. 25. Lafayette Marine and Gulf Logistics were served, and filed their answer on

   October 8, 2015. Dkt. 33. In January 2016, however, Plaintiff changed his mind and filed

   1
            GOM Shelf LLC is alleged to be a wholly-owned subsidiary of Fieldwood Offshore LLC.


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   a motion to dismiss Lafayette Marine and Gulf Logistics from the suit, without prejudice.

   Dkt. 36. That motion was granted. Dkt. 37.

            In June 2016, shortly before the case was set for trial, Fieldwood filed a motion for

   summary judgment contending that Grayson was a “borrowed employee” under

   Louisiana law. Dkt. 54. That motion was briefed while the parties continued to prepare

   for trial, filing their pretrial memoranda, motions in limine, and other trial documents.

   Dkt. 55-75.

            In early July 2016, Plaintiff informed the undersigned that he wished to again

   amend his pleadings, this time to bring Lafayette Marine and Gulf Logistics back into the

   case. Plaintiff contended that a June 2016 deposition had added new facts that supported

   the re-animation of his claims against Lafayette Marine and Gulf Logistics. The court

   allowed Plaintiff to again amend his pleadings to, again, name Lafayette Marine and Gulf

   Logistics. The Court continued the trial date, and allowed the newly re-included

   Defendants to file a motion transfer venue to the United States District Court for the

   Western District of Louisiana, Lafayette Division. That motion to transfer venue has now

   been fully briefed and is before the Court for consideration. Dkt. 115. Plaintiff opposes

   the transfer of this case to the Western District of Louisiana, Lafayette Division.

            Based on the pleadings, the applicable law, and the reasons set forth below, the

   Motion to Transfer is GRANTED.

                       STANDARD FOR CONVENIENCE TRANSFERS

            28 U.S.C. § 1404(a) allows a district court to transfer a civil action “for the

   convenience of parties and witnesses, in the interest of justice ... to any other district or


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   division where it might have been brought.” The statute is intended to save “time, energy,

   and money while at the same time protecting litigants, witnesses, and the public against

   unnecessary inconvenience.” Republic Capital Dev. Grp., L.L.C. v. A.G. Dev. Grp., Inc.,

   No. H–05–1714, 2005 WL 3465728, at *8 (S.D. Tex. Dec. 19, 2005). Motions to transfer

   venue under § 1404(a) are committed to the sound discretion of the district court. Jarvis

   Christian College v. Exxon Corp., 845 F.2d 523, 528 (5th Cir. 1988). The party seeking

   transfer has the burden of showing good cause for the transfer. In re Volkswagen of Am.,

   Inc., 545 F.3d 304, 315 (5th Cir. 2008) (en banc). The burden on the movant is

   “significant,” and for a transfer to be granted, the transferee venue must be “clearly more

   convenient than the venue chosen by the plaintiff.” Id.

            A threshold question for a district court considering a Motion to Transfer Venue

   under 28 U.S.C. § 1404(a) is whether the suit could have been filed in movant’s desired

   transfer venue. In re Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004); see also Wells v.

   Abe’s Boat Rentals Inc., No. CIV.A. H-13-1112, 2014 WL 29590, at *1 (S.D. Tex. Jan. 3,

   2014). Here, Greyson is a citizen and resident of Louisiana. The movants, the recently re-

   added Defendants Lafayette Marine and Gulf Logistics, allege that all of the corporate

   defendants in this case are “Louisiana companies or companies operating in Louisiana.”

   Dkt. 115. More specifically, Plaintiff contends that Defendants Lafayette Marine and

   Gulf Logistics are “Louisiana entit[ies]” with offices in Larose, Louisiana. Plaintiff

   further describes Defendant Wood Group PSN as “a Nevada corporation with its

   principal place of business in Houston, Texas”, while movants point out that Wood




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   Group has offices in Lafayette, Louisiana. Defendant Fieldwood is a managing member

   of GOM Shelf, LLC, with offices in Lafayette, Louisiana.

            The alleged injury occurred on a fixed platform located off the coast of Grand Isle,

   Louisiana-which is located in the Eastern District of Louisiana, not the Western District.

   Accordingly, venue in the Eastern District of Louisiana would be proper under 28 U.S.C.

   § 1391(b)(2).

            But what about the Western District of Louisiana? Movants contend that Grayson

   is a resident of the Western District, and that this lawsuit could therefore have been filed

   in the Western District of Louisiana. Movants also point out that Defendants Wood

   Group and Fieldwood have offices in Lafayette, Louisiana, within the Western District of

   Louisiana. Plaintiff does not dispute that this lawsuit could have been filed in the Western

   District of Louisiana, conceding instead that “it is undisputed that Plaintiff could have

   originally filed his lawsuit in the Western District of Louisiana.” Dkt. 118. Accordingly,

   the Court finds that this action could have been brought in the Western District of

   Louisiana. See 28 U.S.C. §§ 1391(b)-(d).

            Next, the Court must determine whether on balance the transfer would serve “the

   convenience of parties and witnesses” and “the interest of justice.” 28 U.S.C. § 1404(a)

   by weighing a number of private and public interest factors. In re Volkswagen of Am.,

   Inc., 545 F.3d 304, 315 (5th Cir. 2008). The private concerns include: (1) the relative

   ease of access to sources of proof; (2) the availability of compulsory process to secure the

   attendance of witnesses; (3) the cost of attendance for willing witnesses; and (4) all other

   practical problems that make trial of a case easy, expeditious, and inexpensive. The


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   public concerns include: (1) the administrative difficulties flowing from court congestion;

   (2) the local interest in having localized interests decided at home; (3) the familiarity of

   the forum with the law that will govern the case; and (4) the avoidance of unnecessary

   problems of conflict of laws of the application of foreign law. Id. No one factor is given

   dispositive weight. See Wells, 2014 WL 29590 at *1 (quoting Action Indus., Inc. v. U.S.

   Fidelity & Guar. Co., 258 F.3d 337, 340 (5th Cir. 2004)). The Court analyzes these

   factors below.

                           ANALYSIS OF TRANSFER FACTORS

            Although this case has proceeded in fits and starts, some discovery has been

   conducted. Movants allege that this discovery reveals approximately 20 possible fact

   witnesses. Of these witnesses, movants allege that key testimony at trial is anticipated

   from: (1) Plaintiff himself, as well as (2) Jonathan Fontenot, a crane operator employed

   by Defendant Wood Group, (3) Brent Raymond, an electrician employed by a non-party,

   (4) Walter Miles, a supervisor employed by GOM Shelf LLC, (5) Eric Clark, formerly a

   deckhand, and (6) Scott Schneider, formerly the captain of the M/V Miss Dee. Movants

   allege that five of these six witnesses either live in the Western District of Louisiana or

   are within its subpoena power, and the sixth is a Florida resident. Significantly, several of

   these key witnesses are not employed by a party to this lawsuit. Movants also point out

   that Plaintiff has identified a representative of his own Louisiana-based employer, Island

   Operating Company, as a possible non-party witness. Movants correctly point out that

   many of these witnesses are beyond the subpoena power of this Court, but are within the

   subpoena power of the Western District of Louisiana.


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            Further, according to Defendants, much of the document-based evidence on

   liability in this case will come from the Lafayette offices of the various defendants, or

   from Plaintiff’s own employer, who has an office in Lafayette, Louisiana. The Court also

   notes that, in this personal injury lawsuit, important damages evidence is expected from

   Plaintiff’s physicians and experts, as well as Defendants’ experts on medical and

   damages issues. Movants contend that the overwhelming majority of these witnesses, and

   their supporting documentation, is located in Louisiana, and is more easily accessed from

   Lafayette than Galveston. Four of the five medical professionals listed as treating

   physicians in Plaintiff’s witness list are in Louisiana. The fifth is located in at 4710 Katy

   Freeway, in Houston—over 50 miles from this Galveston courthouse. A sixth provider is

   also in Louisiana. Similarly, while Plaintiff’s retained expert on damages, an economist,

   has an office in Houston, that office is 60 miles from the courthouse, and the vast

   majority of the documents that Plaintiff will rely on to support his claim for damages are

   expected to come from these Louisiana medical sources. Plaintiff’s retained expert on

   safety standards is located in Pass Christian, Mississippi. In an attempt to balance the

   scales, Plaintiff points to two retained medical experts that it alleges are hired by

   “Defendants.” Plaintiff correctly points out that these two witnesses are in the greater

   Houston metropolitan area (Methodist Hospital, 77030) and Sugar Land (77478), but

   Plaintiff fails to explain their relevance to this case as a whole.

            The Court notes that the parties have not pointed to any site inspection or

   document cache issues that may be expected to arise. See, e.g., Barnes v. Romeo Papa,

   LLC, No. 3:12–CV–365, 2013 WL 3049236, at *2 (S.D. Tex. June 17, 2013) (“[B]ecause


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   this case is a personal injury action, it is unlikely to require extensive paper discovery or

   additional difficulties in accessing sources of proof.”). In fact, there is a significant

   difference of opinion about how much discovery is still to be conducted—Plaintiff

   contends discovery is essentially complete, while the newly re-added movant Defendants

   point out that they have not yet taken their full bite of the proverbial apple. To support

   their point, movants have provided the Court with discovery recently propounded by

   Plaintiff, which does indicate that additional discovery remains to be conducted before

   this case is truly ready for trial.

            In his response to the motion to transfer venue, Plaintiff primarily contends that

   the movant Defendants have not met their burden of showing that transfer is “clearly

   more convenient” and he argues that this case is “somewhat long in the tooth,” so the

   motion should be denied. Given the unique procedural history of this case—a procedural

   history writ largely by Plaintiff himself—the Court disagrees.

      A. The Private–Interest Factors

            1. The Relative Ease of Access to Sources of Proof

            The overwhelming majority of documents and evidence in this case will come

   from Louisiana sources—Louisiana medical providers, Louisiana companies, entities

   operating in Louisiana, or a plaintiff who is himself Louisiana resident. All of these are

   closer to Lafayette than to Galveston. Accordingly, this factor weighs in favor of transfer.




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            2. The Availability of Compulsory Process to Secure the Attendance of
                 Witnesses

            Under the Federal Rules of Civil Procedure, a district court may enforce a

   subpoena issued to a nonparty witness “within the state where the person resides, is

   employed, or regularly transacts business in person, if the person . . . would not incur

   substantial expense.” FED. R. CIV. P. 45(c)(1)(B). As set out above, several key witnesses

   are outside the subpoena power of this Court, but not outside the subpoena power of the

   United States District Court for the Western District of Louisiana, Lafayette Division.

   Accordingly, this factor also weighs in favor of transfer.

            3. The Cost of Attendance for Willing Witnesses

            Neither the movants nor Plaintiff submitted evidence for the Court to consider

   regarding the travel costs, hotel costs, or other expenses for the cost of attendance for

   willing witnesses in this case. Given the complexities at issue here, and the variety of

   decisions that trial and litigation counsel may make in calling various witnesses, the

   Court declines to speculate as to this factor. Accordingly, this factor is neutral.

            4. All Other Practical Problems That Make Trial of a Case Easy,
               Expeditious, and Inexpensive

            Here, Plaintiff points to the age of the lawsuit, and the delay he has already faced,

   as a reason for this Court to deny the motion to transfer. The reality though, at least in

   this particular case, is that the delays here are due to decisions of Plaintiff himself. Again

   and again, he has asked for extensions, or to amend deadlines, or for other relief such as

   adding in defendants he previously dismissed. In light of the history of this case as whole,

   the Court finds that this factor is neutral, at best.


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            B. The Public–Interest Factors

            1. The Administrative Difficulties Flowing from Court Congestion

            Although both sides attempt to bring out various docket management statistics to

   argue in favor of their desired result, the plain fact is that both the United States District

   Court for the Western District of Louisiana, Lafayette Division and this Court have heavy

   dockets. However, in light of the efforts both courts have expended toward docket

   management and expediting civil trials under the amended Federal Rules of Civil

   Procedure, and in light of the particularly unusual procedural posture of this lawsuit, the

   Court finds that this factor is neutral.

            2. The Local Interest in Having Localized Interests Decided at Home

            In this personal injury lawsuit, plaintiff who is a Louisiana resident and who was

   employed by a Louisiana company, alleges that he was injured off the coast of Louisiana

   and he is suing multiple companies based upon their operations out of their offices in

   Louisiana. There is little, if any, connection to the Galveston area or even the state of

   Texas itself—Plaintiff did not seek treatment at local Galveston hospitals, none of the

   Defendants are alleged to have Galveston-based operations at issue in the suit, and none

   of the witnesses are alleged to live or work in the Galveston Division of the United States

   District Court for the Southern District of Texas. The Court finds that this factor weighs

   in favor of transfer.

            3. The Familiarity of the Forum with the Law that Will Govern the Case

            Both this Court and the United States District Court for the Western District of

   Louisiana are well-versed in the law at issue in this case. However, the Court notes that


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   certain Defendants have filed a pending motion for summary judgment that implicates

   Louisiana state law. Accordingly, this factor weighs slightly in favor of transfer.

             4. The Avoidance of Unnecessary Problems of Conflict of Laws or in the
                  Application of Foreign Law

             Neither movants nor plaintiff present any evidence regarding any conflict of law

   issues or questions requiring the application of foreign law. Accordingly, this factor is

   neutral.

                                          CONCLUSION

             After full consideration of the motion to transfer venue, the briefing in response,

   and the evidence submitted by the parties, as well as the docket and filings in this case as

   a whole, the Court finds that the Motion to Transfer Venue should be GRANTED, and

   this case is hereby ORDERED to be transferred to the United States District Court for

   the Western District of Louisiana, Lafayette Division.

             Further, in light of the transfer of this case, Fieldwood’s motion for summary

   judgment, Dkt. 54, is hereby DENIED as MOOT, without prejudice to re-urging.

             IT IS SO ORDERED.

             SIGNED at Galveston, Texas, this 8th day of March, 2017.


                                                   ___________________________________
                                                   George C. Hanks Jr.
                                                   United States District Judge




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